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 RULE 2.515.         SIGNATURE AND CERTIFICATES OF ATTORNEYS
                     AND PARTIES

        (a) Attorney’s Signature and Certificates. Every document of a party
 represented by an attorney shall be signed by at least 1 attorney of record in that
 attorney’s individual name whose current record Florida Bar address, telephone
 number, including area code, primary e-mail address and secondary e-mail
 addresses, if any, and Florida Bar number shall be stated, and who shall be duly
 licensed to practice law in Florida or who shall have received permission to appear
 in the particular case as provided in rule 2.510. The attorney may be required by
 the court to give the address of, and to vouch for the attorney’s authority to
 represent, the party. Except when otherwise specifically provided by an applicable
 rule or statute, documents need not be verified or accompanied by affidavit. The
 signature of an attorney shall constitute a certificate by the attorney that:

              (1)    the attorney has read the document;

              (2) to the best of the attorney’s knowledge, information, and belief
 there is good ground to support the document;

              (3)    the document is not interposed for delay; and

               (4) the document contains no confidential or sensitive information,
 or that any such confidential or sensitive information has been properly protected
 by complying with the provisions of rules 2.420 and 2.425. If a document is not
 signed or is signed with intent to defeat the purpose of this rule, it may be stricken
 and the action may proceed as though the document had not been served.

        (b) Pro Se Litigant Signature. A party who is not represented by an
 attorney shall sign any document and state the party’s address and telephone
 number, including area code.

       (c)    Form of Signature.

               (1) The signatures required on documents by subdivisions (a) and
 (b) of this rule may be:

                     (A)   original signatures;




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                    (B) original signatures that have been reproduced by
 electronic means, such as on electronically transmitted documents or photocopied
 documents;

                     (C) an electronic signature indicator using the “/s/,” “s/,” or
 “/s” [name] formats authorized by the person signing a document electronically
 served or filed; or

                    (D) any other signature format authorized by general law, so
 long as the clerk where the proceeding is pending has the capability of receiving
 and has obtained approval from the Supreme Court of Florida to accept pleadings
 and documents with that signature format.

             (2) By serving a document, or by filing a document by electronic
 transmission using an attorney’s assigned electronic filing credentials:

                    (A) that attorney certifies compliance with subdivision (a)(1)
 through (a)(4) and accepts responsibility for the document for all purposes under
 this rule;

                   (B) that attorney certifies compliance with all rules of
 procedure regarding service of the document on attorneys and parties;

                    (C) that attorney certifies that every person identified as a
 signer in the document as described in subdivision (c)(1)(C) has authorized such
 signature; and

                    (D) every signing attorney is as responsible for the document
 as if that document had been served by such signing attorney or filed using the
 assigned electronic filing credentials of such signing attorney.

 RULE 2.516.        SERVICE OF PLEADINGS AND DOCUMENTS

        (a) Service; When Required. Unless the court otherwise orders, or a
 statute or supreme court administrative order specifies a different means of service,
 every pleading subsequent to the initial pleading and every other document filed in
 any court proceeding, except applications for witness subpoenas and documents
 served by formal notice or required to be served in the manner provided for service
 of formal notice, must be served in accordance with this rule on each party. No
 service need be made on parties against whom a default has been entered, except


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